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                                           IN THE DISTRICT COURT IN AND FOR
                                           THE SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

                                           CASE NO. 1:11-cv-20029-PAS
  JAMES FONT,

        Plaintiff,

  v.

  NCO FINANCIAL SYSTEMS, INC.,

        Defendant.
  _____________________________________/

                     PLAINTIFF’S SATISFACTION OF JUDGMENT

  NOTICE IS HEREBY GIVEN that Plaintiff and his counsel of record acknowledge that
  the Judgment has been received and that the Judgment is therefore fully satisfied.


        Respectfully submitted this 20th day of August, 2012.


                                                Respectfully submitted,
                                                JAMES FONT


                                                By: s/ Alex D. Weisberg
                                                ALEX D. WEISBERG
                                                FBN: 0566551
                                                WEISBERG & MEYERS, LLC
                                                ATTORNEYS FOR PLAINTIFF
                                                5722 S. Flamingo Rd, Ste. 656
                                                Cooper City, FL 33330
                                                (954) 212-2184
                                                (866) 577-0963 fax
                                                aweisberg@attorneysforconsumers.com
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                     CERTIFICATE OF SERVICE VIA REGULAR MAIL


         I, Alex D. Weisberg, certify that a true and correct copy of the foregoing was served upon

  Mr. Kenneth Grace, Sessions, Fishman, Nathan & Israel, LLC, 3350 Buschwood Park Dr., Suite

  195, Tampa FL 33618, by depositing the same on August 20, 2012, in the U.S. Mail in an

  envelope with first class postage prepaid thereon.




                                                       By: s/ Alex Weisberg
                                                       ALEX D. WEISBERG
                                                       FBN: 0566551
                                                       WEISBERG & MEYERS, LLC
                                                       ATTORNEYS FOR PLAINTIFF
                                                       5722 S. Flamingo Rd, Ste. 656
                                                       Cooper City, FL 33330
                                                       (954) 212-2184
                                                       (866) 577-0963 fax
                                                       aweisberg@attorneysforconsumers.com
